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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION



J.A. CASTRO,                              §
           Plaintiff,                     §
                                          §
VS.                                       §    Case No. 4:23-cv-00613-P-BJ
                                          §
JOHN DOE 1 (a.k.a. “CHETSFORD”), et al.   §
          Defendants,                     §



  BRIEF IN FURTHER SUPPORT OF MOTION FOR SANCTIONS BY DEFENDANT
        JOHN DOE 1 (“Chetsford”) AND IN OPPOSITION TO PLAINTIFF’S
                     CROSS-MOTION FOR SANCTIONS




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       John Doe 1, aka Chetsford, respectfully submits this short reply brief (1) in further

support of his motion, pursuant to Fed. R. Civ. P. 11, for an appropriate sanction against Plaintiff

J.A. Castro for allegations made in his Third Amended Verified Complaint (Doc. 36, “TAC”)

and (2) in opposition to Castro’s cross-motion (Doc. 58, “Cross-Mot.”) for sanctions.

       1.      Castro’s cross-motion fails to comply with Local Rule 7.1(h), which requires a

separate brief on a motion for sanctions.

       2.      John Doe 1’s moving papers identified three separate factual claims in the TAC

for which Castro lacks evidentiary support: the “Payment Allegation” (that defendant Trump,

through various entities, paid Chetsford to write a defamatory article in Wikipedia, TAC ¶ 12);

the “Fabrication Allegation” (that Chetsford “fabricated” a document from the Florida Bar, id.

¶ 14); and the “Obscure Media Allegation” (that “[p]laintiff has only received minimal public

attention from a few obscure media outlets,” id. ¶ 24). Castro’s response says nothing at all about

the second or third allegation. He thus implicitly concedes that he has no factual basis for them.

       3.      Indeed, with respect to the Fabrication Allegation, Castro does not even identify

the document that John Doe 1 purportedly fabricated. As to the Obscure Media Allegation, he

says nothing at all about the fact that his stipulation in another lawsuit completely undermines

that allegation. Doc. 56, p. 4 (PageID 286); Doc. 57, APP7-9 (¶¶ 4, 15).

       4.      With respect to the Payment Allegation, Castro only quotes a part of the 1993

Advisory Committee Notes about an opportunity for further investigation or discovery for

certain allegations. Cross-Mot. 3 (¶ 9). What he neglects to mention is that the Committee Notes

were there referring to allegations that are specifically identified as requiring that opportunity.

Fed. R. Civ. P. 11(b)(3) (“if specifically so identified”). As John Doe 1 noted in his moving


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papers (Doc. 55 at 3 n.2) – and as Castro does not (and cannot) refute – Castro did not

specifically identify the Payment Allegation (or any other allegation) as one that required an

opportunity for further investigation or discovery before a reasonable basis could be

demonstrated.

       5.       In any event, even specifically identified allegations must have some plausible

basis, and Castro has none. Indeed, he appears to be making up more facts. Castro claims he had

a plausible basis for the Payment Allegation because “[t]he moment Plaintiff sued Trump in

Florida in early 2022, Defendant John Doe created a Wikipedia page and immediately began

maliciously defaming Plaintiff.” Cross-Mot. 2 (¶ 7). Castro provides no evidence based on

personal knowledge as to when John Doe 1 created a Wikipedia page. Moreover, court records

demonstrate that Castro sued Trump in Florida in January 2023, not “early 2022.” See Castro v.

Trump, S.D. Fla. No. 9:23-cv-80015, Doc. 1 (filed Jan. 6, 2023).1

       6.       Castro claims that pressuring John Doe 1 to testify against Trump is not an

improper purpose to file a lawsuit. Cross-Mot. 2 (¶¶ 4-5). Fabricating facts to create that pressure

is improper because it strongly suggests that Castro wants John Doe 1 to testify falsely. And,

regardless of the motivation for fabricating factual allegations, doing so violates Rule 11.

       7.       Finally, Castro claims that John Doe 1’s moving statement is not “legally

sufficient to refute Plaintiff’s allegations in the complaint” because it was not “verified pursuant

to 28 U.S.C. § 1746.” It is not clear what Castro means by this because the sentences at the end

of John Doe 1’s statement track the language in the statute (28 U.S.C. § 1746(2)). Obviously,


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       As to his contention that the attorneys for John Doe 1 are “Republican-aligned,” Castro
again provides no evidence and no basis for personal knowledge that would render his assertions
admissible.

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John Doe 1 has a First Amendment right to his anonymity, and accordingly, the filed statement is

redacted (with a statement from his attorney that a fully-executed statement is in his possession).

In any event, it is Castro who made the representation set forth in Rule 11(b) (that the factual

contentions have evidentiary support) for each of the three allegations at issue by filing the TAC,

and continuing to assert the allegations therein, and thus he must show that he had and has a

reasonable basis for the same.


                                            Conclusion


       For the foregoing reasons, and those set forth in the moving papers, the motion for

sanctions should be granted and Castro’s cross-motion denied.


                                              Respectfully submitted,



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                                Attorneys for John Doe 1 (Chetsford)




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